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 6

 7                               IN THE UNITED STATES DISTRICT COURT

 8                                  EASTERN DISTRICT OF CALIFORNIA

 9
     UNITED STATES OF AMERICA,                           CASE NO. 2:16-CR-0067 JAM
10
                                   Plaintiff,            ORDER SEALING DOCUMENTS AS SET FORTH
11                                                       IN GOVERNMENT’S NOTICE
                            v.
12
     NOE BAEZA BRAVO,
13
                                  Defendant.
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16          Pursuant to Local Rule 141(b) and based upon the representation contained in the government’s
17 Request to Seal, IT IS HEREBY ORDERED that the government’s three-page memorandum pertaining

18 to defendant Noe Baeza Bravo , and government’s Request to Seal shall be SEALED until further order

19 of this Court.

20          It is further ordered that access to the sealed documents shall be limited to the government and
21 counsel for the defendant.

22          The Court has considered the factors set forth in Oregonian Publishing Co. v. U.S. District Court
23 for the District of Oregon, 920 F.2d 1462 (9th Cir. 1990). The Court finds that, for the reasons stated in

24 the government’s request, sealing the government’s motion serves a compelling interest. The Court

25 further finds that, in the absence of closure, the compelling interests identified by the

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      [PROPOSED] ORDER SEALING DOCUMENTS AS SET           1
      FORTH IN GOVERNMENT’S NOTICE
               Case 2:16-cr-00067-JAM Document 172 Filed 03/04/19 Page 2 of 2

 1 government would be harmed. In light of the public filing of its request to seal, the Court further finds

 2 that there are no additional alternatives to sealing the government’s motion that would adequately

 3 protect the compelling interests identified by the government.

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 5    Dated:       3/1/2019                               /s/ John A. Mendez
                                                      THE HONORABLE JOHN A. MENDEZ
 6                                                    UNITED STATES DISTRICT COURT JUDGE
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      [PROPOSED] ORDER SEALING DOCUMENTS AS SET          2
      FORTH IN GOVERNMENT’S NOTICE
